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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

WOODHULL FREEDOM FOUNDATION,                )
HUMAN RIGHTS WATCH, ERIC KOSZYK,            )
JESSE MALEY, a/k/a ALEX ANDREWS, and        )
THE INTERNET ARCHIVE,                       )
                                            )    Case No. 1:18-cv-1552-RJL
               Plaintiffs,                  )
                                            )
      v.                                    )
                                            )
THE UNITED STATES OF AMERICA                )
and JEFFERSON B. SESSIONS, in his           )
official capacity as ATTORNEY GENERAL       )
OF THE UNITED STATES,                       )
                                            )
               Defendants.                  )


              PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS
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       Plaintiffs Woodhull Freedom Foundation (“Woodhull”), Human Rights Watch (“HRW”),

Eric Koszyk, Jesse Maley, a/k/a Alex Andrews (“Andrews”), and the Internet Archive (“the

Archive”), hereby oppose the motion of the Defendants the Attorney General and United States

to dismiss under Federal Rules of Civil Procedure 12(b)(1) and (b)(6). The Motion to Dismiss

should be denied because Plaintiffs have standing to bring this action, and their Complaint states

multiple claims upon which relief can and should be granted.

                                        INTRODUCTION

       The Government asked this Court to dismiss the case in a consolidated pleading opposing

Plaintiffs’ Motion for Preliminary Injunction and moving for dismissal. Defendants’ Opposition

to Plaintiffs’ Motion for Preliminary Injunction and Motion to Dismiss Plaintiffs’ Complaint,

Dkt. 15 (“Mot.”). Plaintiffs replied to the opposition, and added that they would oppose the

Motion to Dismiss in due course, as necessary. See Plaintiffs’ Reply to Opposition to Motion for

Preliminary Injunction, Dkt. 17 at 1 n.1 (“Reply”). See LCvR 7(b). By this memorandum of

points and authorities, Plaintiffs oppose the Motion to Dismiss, and in doing so incorporate the

allegations in the Complaint, Dkt. 1, the arguments in the Motion for Preliminary Injunction,

Dkt. 5, and in the corresponding Reply, Dkt. 17, and the factual averments in the Declarations

accompanying the Motion for Preliminary Injunction. Dkts. 5-1 through 5-10.

                                    STANDARD OF REVIEW

       Under Rule 12(b)(1), the Court “must assume [Plaintiffs] state[] a valid legal claim,”

must “accept the factual allegations in the complaint as true,” and may consider matters outside

the pleadings. Info. Handling Servs., Inc. v. Def. Automated Printing Servs., 338 F.3d 1024,

1029 (D.C. Cir. 2003) (internal citations omitted); Jerome Stevens Pharms., Inc. v. FDA, 402

F.3d 1249, 1253-54 (D.C. Cir. 2005); see also Mot. 4-5. To withstand a motion to dismiss,

Plaintiffs “need only plead ‘enough facts to state a claim to relief that is plausible on its face’ and
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to ‘nudge[] [their] claims across the line from conceivable to plausible.” Shaffer v. Defense Intel.

Agency, 601 F. Supp. 2d 16, 22 (D.D.C. 2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)).

       Under Rule 12(b)(6), a complaint must simply contain sufficient facts, accepted as true,

to state a claim that is “plausible on its face,” which “is not akin to a ‘probability requirement,’”

but only requires “more than a sheer possibility” that the plaintiff can prevail. Z St., Inc. v.

Koskinen, 44 F. Supp. 3d 48, 54 (D.D.C. 2014) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)) (internal quotation marks omitted), aff’d, 791 F.3d 24 (D.C. Cir. 2015). “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

678. The plaintiff must provide “more than labels and conclusions, and a formulaic recitation of

the elements of a cause of action will not do.” Twombly, 550 U.S. at 555. But “[c]redibility

determinations are not for the district court, especially at the motion to dismiss stage.” Jones v.

Kirchner, 835 F.3d 74, 80 (D.C. Cir. 2016), cert. denied, 137 S. Ct. 1343 (2017). A plaintiff can

overcome a Rule 12(b)(6) motion “even where recovery is very remote,” so long as the facts

alleged “raise [the] right to relief above the speculative level,” Z St., Inc., 44 F.Supp.3d at 54

(quoting Twombly, 550 U.S. at 555-56) (internal quotation marks omitted), an assessment in

which the Court may consider “‘facts alleged in the complaint, any documents either attached to

or incorporated in the complaint and matters of which [it] may take judicial notice.’” Id. at 54-

55 (quoting EEOC v. St. Francis Xavier Parochial Sch., 117 F.3d 621, 624 (D.C. Cir. 1997)).




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                                          ARGUMENT

I.     THE COURT HAS SUBJECT MATTER JURISDICTION OVER PLAINTIFFS’
       PRE-ENFORCEMENT CHALLENGE TO FOSTA

       Plaintiffs have standing to challenge FOSTA because the law proscribes online speech in

ways that directly threaten Plaintiffs’ expressive activities. The Government’s Rule 12(b)(1)

argument, predicated solely on lack of standing, asserts that Plaintiffs face no credible threat of

enforcement, based on a claim that FOSTA does not proscribe any course of conduct in which

they wish to engage. See Mot. 8-10. This argument disregards the full scope and contours of the

Act, the facts it alleges regarding Plaintiffs, and the history of regulation and enforcement actions

targeting online speech that makes clear why concerns about potential liability are credible. See

infra § I.B-D. The issue before the Court is not simply whether FOSTA’s prohibitions are

“aimed directly at Plaintiffs,” as DOJ posits, Mot. 8 (quoting Virginia v. American Booksellers

Ass’n, 484 U.S. 383, 392 (1988)), or the likelihood of a U.S. attorney initiating a prosecution.

The Court should “assume a credible threat of prosecution in the absence of compelling contrary

evidence.” ACLU v. Reno, 31 F. Supp. 2d 473, 480 (E.D. Pa. 1999) (“Reno II”) (quoting New

Hampshire Right to Life Political Action Comm. v. Gardner, 99 F.3d 8, 15 (1st Cir. 1996)). This

standard is “quite forgiving.” Id. at 479-80.

       A.      Plaintiffs May Bring a Pre-enforcement Challenge to FOSTA

       It is well established that a credible threat of present or future criminal prosecution will

confer standing. See, e.g., American Booksellers Ass’n, 484 U.S. at 392-93 (noting Court was

“unconcerned by the pre-enforcement nature of th[e] suit” and holding injury-in-fact was met, in

part, because “plaintiffs have alleged an actual and well-founded fear that the law will be

enforced against them”); Steffel v. Thompson, 415 U.S. 452, 459 (1974) (“It is not necessary that

[a party] first expose himself to actual arrest or prosecution to be entitled to challenge a statute



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that he claims deters the exercise of his constitutional rights.”); Doe v. Bolton, 410 U.S. 179,

188-89 (1973). The rationale underlying this rule is that credible threat of present or future

prosecution is itself an injury that suffices to confer standing, even if there is no history of past

enforcement. Id. at 188. This recognizes that a speaker who fears prosecution may engage in

self-censorship, which is itself an injury. E.g., Bell v. Keating, 697 F.3d 445, 453-54 (7th Cir.

2012).

         Standing to bring a pre-enforcement challenge to a statute is adjudged according to the

Plaintiffs’ interpretation of the statute, not the interpretation of the Government. The Supreme

Court has found injury-in-fact for plaintiffs “who, if their interpretation of the statute is correct,

will have to take significant and costly compliance measures or risk criminal prosecution.”

American Booksellers, 484 U.S. at 392 (emphasis added). As the Second Circuit has explained,

“while there may be other, perhaps even better [constructions of the disputed statute],” standing

exists if a plaintiff’s interpretation “is reasonable enough that [plaintiff] may legitimately fear []

it will face enforcement of the statute by the State.” Vermont Right to Life Comm. v. Sorrell, 221

F.3d 376, 383 (2d Cir. 2000); Reno II, 31 F. Supp. 2d at 481 (relying on plaintiffs’ interpretation

of Child Online Protection Act, which court found “not unreasonable”). 1 See also California

Pro-Life Council, Inc. v. Getman, 328 F.3d 1088, 1095 (9th Cir. 2003) (requiring only that

plaintiff’s intended speech “arguably falls within the statute”) (emphasis added).

         As a result, any ambiguity in a statute must be interpreted in favor of the Plaintiffs at this

stage of proceedings for purposes of establishing standing. The Plaintiffs’ interpretation should

be credited unless it “clearly fails” to cover the Plaintiffs’ conduct. See Majors v. Abell, 317
   1
      See also County of Santa Clara v. Trump, 250 F. Supp. 3d 497, 519 (N.D. Cal. 2017)
(“Where it is not fully clear what conduct is proscribed by a statute, a well-founded fear of
enforcement may be based in part on a plaintiff's reasonable interpretation of what conduct is
proscribed.”).



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F.3d 719, 721 (7th Cir. 2003) (“A plaintiff who mounts a pre-enforcement challenge to a statute

that he claims violates his freedom of speech need not show … authorities have threatened to

prosecute him; the threat is latent in the existence of the statute. Not if it clearly fails to cover his

conduct, of course. But if it arguably covers it, … there is standing.”) (citations omitted). In any

event, the standing inquiry is not the place for this Court to make a final interpretation of FOSTA

on the merits.     That task is for a later proceeding.        On a motion to dismiss, Plaintiffs’

interpretation need only be plausible.

        These principles were applied most recently in Sandvig v. Sessions, --- F. Supp. 3d ---,

2018 WL 1568881 (D.D.C. 2018), where the court held that researchers had standing to bring a

pre-enforcement First Amendment challenge to the Computer Fraud and Abuse Act (“CFAA”) to

remove doubt about whether they might be prosecuted for violating private websites’ terms of

service. The plaintiffs alleged that concern over possible legal liability impeded their research

because the acts of scraping information from the websites, harmlessly misrepresenting their

identities to gain access, and publishing the results violated terms of service and arguably ran

afoul of the CFAA. Id. at *1-2 (“It’s a dangerous business, reading the fine print.”). DOJ

challenged standing—arguing plaintiffs “cite no instances in which the government has enforced

the challenged provision for harmless [ToS] violations,” and claiming the Department had inter-

preted the law not to reach such circumstances (citing congressional testimony to bolster the

point)—and it even submitted an affidavit from the Chief of the Computer Crime and Intellectual

Property Section disavowing any likelihood the Department “would bring a CFAA prosecution

based on such facts and de minimis harm.” Id. at *9-11 & n.8. Nevertheless, the court held

plaintiffs had standing, finding “the D.C. Circuit has interpreted the Supreme Court’s pre-

enforcement standing doctrine broadly in the First Amendment sphere,” and holding that




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“[u]nder D.C. Circuit precedent, ‘at the motion to dismiss stage, a plaintiff’s non-frivolous con-

tention regarding the meaning of a statute must be taken as correct for purposes of standing.’”

Id. at *6, *9 (quoting Info. Handling Servs., Inc. v. Automated Printing Servs., 338 F.3d 1024,

1030 (D.C. Cir. 2003)).

       B.       FOSTA Creates Multiple Pathways for First Amendment Injury

       The Government’s erroneous view of standing is summed up by its claim that “[b]efore

FOSTA was enacted, websites could have been prosecuted … for those same or substantially

similar crimes” under the Travel Act, 18 U.S.C. § 1952, Mot. 19, and its conclusion that Plain-

tiffs have no credible fear of prosecution because “none of [them] (nor anyone like them) has

ever been prosecuted under Section 1952” despite the “substantial similarity between Section

1952 and 2421A.” Mot. 12. Leaving aside the fact that the Travel Act was enacted more than

three decades before the Internet emerged as a medium of public communication, this is wrong

for two principal reasons: First, FOSTA authorizes criminal and civil claims by more actors than

just federal prosecutors, so the sources of potential liability are far more diffuse. Second, the

Travel Act is not directed toward speech, whereas FOSTA regulates nothing but speech, and uses

far more expansive terms that do not depend on specific violations of state law.

       FOSTA does more than enact a new federal law that empowers federal prosecutors to

bring (slightly different) charges than they might previously have brought under the Travel Act.

It creates at least seven different paths to liability for those who host or post information using an

interactive computer service. These include:

            •   Prosecution under 18 U.S.C. § 2421A of anyone who “owns, manages or operates
                an interactive computer service … with the intent to promote or facilitate the
                prostitution of another,” including “aggravated violations” for “promot[ing] or
                facilitat[ing] prostitution of 5 or more persons,” or with “reckless disregard” of
                conduct that “contribute[s] to sex trafficking.” Id. § 2421A(a)-(b).




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           •   Prosecution under 18 U.S.C. § 1591 under FOSTA’s newly relaxed mens rea
               standard that defines “participation in a venture” as “knowingly assisting, sup-
               porting, or facilitating” a violation of federal anti-trafficking law. See 18 U.S.C.
               § 1591(c) (citing id. § 1591(a) (incorporating at § (a)(2) term defined in new
               § 1591(e)(4)) (emphasis added).

           •   Prosecution under state law “if the conduct underlying the charge would const-
               itute a violation of [18 U.S.C. § 1591].” 47 U.S.C. § 230(e)(5)(B) (FOSTA § 4).

           •   Prosecution under state law “if the conduct underlying the charge would
               constitute a violation of [18 U.S.C. § 2421A].” 47 U.S.C. § 230 (e)(5)(C)
               (FOSTA § 4).

           •   Civil claims in federal court for violation of 18 U.S.C. § 2421A(b) (FOSTA § 3).

           •   Civil claims under 18 U.S.C. § 1595 “if the conduct underlying the claim consti-
               tutes a violation of [18 U.S.C. § 1591].” 47 U.S.C. § 230(e)(5)(A) (FOSTA § 4).

           •   Parens patriae actions in federal court by state attorneys general for asserted
               violations of 18 U.S.C. § 1591 (FOSTA § 6).

       In addition to multiplying the sources of potential liability for online speakers and inter-

mediaries, FOSTA increases incentives to bring civil actions by providing attorney’s fees and

mandatory restitution (on top of damage awards) for “aggravated” violations of Section 2421A.

18 U.S.C. § 2421A(c)-(d) (FOSTA § 3). 2 FOSTA also loosened the mens rea in pre-FOSTA

Section 1591 to allow for easier prosecution. As the legislative history explained, this was done

because “prosecutors usually cannot demonstrate beyond a reasonable doubt that [] website

operators knew that [ads] involved sex trafficking,” and under the law before FOSTA amended




   2
       Such restitution requires award of “the full amount of the victim’s losses,” 18 U.S.C.
§ 1593(b)(1), (3), which includes the costs of any physical, psychiatric, or psychological care;
physical and occupational therapy or rehabilitation; and transportation, temporary housing, and
child care, as well as any lost income, other “costs incurred” (including attorney fees), or “other
losses suffered by the victim as a proximate result of the offense.” Id. § 2259(b)(3) (applicable
through § 1591(b)(3)). See also id. § 2327(b)(3) (applicable through § 2421A(d)) (same).



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it, “general knowledge that sex trafficking occurs on a website will not suffice” under the prior

“knowledge element.” H.R. Rep. No. 115-572, pt. 1, at 5. 3

       Given FOSTA’s structure and purpose, and in light of the enforcement history that led to

its passage, it is not enough to assuage Plaintiffs’ concerns for DOJ to suggest, as it does here,

that it plans to enforce the law narrowly or responsibly. Mot. 12-13. Even if the U.S. Attorney’s

Manual had a section on how to interpret and enforce the new law (and it does not), it would not

matter. When Congress has enacted a law that imposes potential criminal or civil liability based

on speech, “the First Amendment should not be interpreted to require us to entrust the protection

it affords to the judgment of prosecutors.” ACLU v. Reno, 929 F. Supp. 824, 857 (E.D. Pa. 1996)

(Sloviter, J.) (“Reno I”), aff’d, 521 U.S. 844 (1997). “If a content-based law ‘can produce such

an outcome’” under broad statutory terms, the court should find plaintiffs have standing even for

scenarios the Government considers “hyperbolic.” Id. at 870 (Dalzell, J.) (quoting Simon &

Schuster, Inc. v. Members of N.Y. State Crime Victims Bd., 502 U.S. 105, 123 (1991)). See id. at

871 (“[W]e cannot ignore that the Act could reach these activities.”) (emphasis added). 4


   3
       The last revision to Section 1591 immediately preceding FOSTA, the Stop Advertising
Victims of Exploitation Act of 2015, Pub. L. No. 114-22 (“SAVE Act”), added “advertising” to
the types of conduct that can constitute a trafficking offense, which was the only aspect of the
offense specifically tied to speech. In dismissing a facial constitutional challenge to the SAVE
Act due to lack of standing, see Mot. 13-14, the court held in relevant part that the Act was not
subject to the claims advanced, because the amendments as written required specific knowledge
when the prosecution was based on advertising, as opposed to other conduct that was subject to a
“reckless disregard” standard. Backpage.com, LLC v. Lynch, 216 F. Supp. 3d 96, 108-09
(D.D.C. 2016). However, FOSTA was adopted to allow liability for “facilitating” trafficking via
an interactive computer service, thus avoiding this specific requirement as to advertising.
Consequently, DOJ is incorrect in arguing the scienter requirements throughout FOSTA require
a knowing or “higher” mens rea. Mot. 20-21.
   4
      Thus, in Reno II, the court rejected the same standing argument made here and denied the
government’s motion to dismiss a pre-enforcement challenge to the Child Online Protection Act
(“COPA”) despite the claim that plaintiffs’ concerns were “wholly speculative” because they
were “not ‘engaged in the business’ of distributing harmful to minors materials.” Reno II, 31 F.
Supp. 2d at 480. See Reno I, 929 F. Supp. at 872 (Dalzell, J.) (“[P]laintiffs’ fear of prosecution


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        The “credible threat” under FOSTA is far more compelling than for a federal statute that

bans certain types of speech (such as the CDA or COPA), because FOSTA exposes Plaintiffs to

criminal or civil liability at the hand of countless civil litigants as well as state and local law

enforcement authorities. As DOJ puts it, FOSTA’s “key innovation” is “to allow states to bring

prosecutions for … sex trafficking … and intentional facilitation or promotion of illegal prostitu-

tion” that Section 230 previously precluded. Mot. 19; see also supra note 3. In this connection,

state laws that parallel, e.g., Section 1591, are not uncommon, and now become fair game for

prosecuting online service providers under FOSTA. 5

        This is not a situation where the lead agency or official in charge of enforcing a law can

announce a definitive interpretation to remove doubts about its scope or otherwise deny any

intention to enforce it. The extent to which FOSTA will be applied to restrict online speech

simply is beyond DOJ’s control. State attorneys general and private civil litigants each will

likely have their own definitions of “promote,” “facilitate,” “assist,” “support” and “contribute to

sex trafficking,” and may not be as studied in the supposedly limited applications of the Travel

Act as DOJ claims it intends. Even the prospect of having to defend a meritless lawsuit brought

by a state attorney general or private litigant creates a powerful disincentive to speak anywhere

close to FOSTA’s blurry lines. The potential imposition of civil liability can be every bit as

inhibiting as criminal penalties. 281 CARE Comm. v. Arneson, 638 F.3d 621, 630 (8th Cir.

2011) (“Arneson I”); 281 CARE Comm. v. Arneson, 766 F.3d 774, 782 (8th Cir. 2014) (“Arneson

II”) (the “threat was only exacerbated by the procedure in place … where ‘any person’ could file



… is legitimate, even though they are not the pornographers Congress had in mind when it
passed the CDA.”).
   5
       E.g., Mass. Gen. L. ch. 265, § 50; Ala. Code § 13A-6-150, et seq.



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such a complaint”) (quoting Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2345 (2014)

(“SBA List”)). 6

        When a statute provides for civil penalties and/or private rights of action, standing may

also be established by demonstrating that the fear of such civil sanctions is chilling speech. In

Bland v. Fessler, 88 F.3d 729, 736-37 & n.11 (9th Cir. 1996), the court found the plaintiff had

standing to challenge a statute that allowed both civil fines and private enforcement. As the

court explained, the law placed plaintiff “between the rock of foregoing” speech prohibited by

the law “and the hard place of violating the law …. Had he chosen to violate the civil statute, he

would have run a substantial risk of civil fines and private enforcement actions.” Id. 7 The court



    6
       It is not necessary for the Court to enjoin state or local prosecutors (or civil litigants) for
injunctive relief to provide redress necessary for standing. Lujan v. Defenders of Wildlife, 504
U.S. 555, 559-61 (1992). Plaintiffs do not seek to enjoin them from enforcing state laws.
Rather, they seek a declaration that FOSTA is unconstitutional, and an injunction against its en-
forcement. This would prevent state attorneys general from targeting online computer services
with enforcement of state criminal laws by enjoining the availability of parens patriae suits, and
by restoring Section 230 immunity from state criminal enforcement. See Knight First Amend-
ment Inst. at Columbia Univ. v. Trump, 302 F. Supp. 3d 541, 579 (S.D.N.Y. 2018) (“though …
injunctive relief may be awarded” against some government officials, it is not necessary against
all potentially affected officials where “declaratory relief is likely to achieve the same purpose”
as it may be “assume[d] it is substantially likely that … officials would abide by an authoritative
interpretation of a constitutional provision”) (alterations added, existing alterations omitted),
appeal docketed, No. 18-1691 (2d Cir. June 5, 2018). See also id. (“No government official,
after all, possesses the discretion to act unconstitutionally.”). A “substantial likelihood” of
adherence to this Court’s ruling suffices for standing purposes. E.g., Allco Fin. Ltd. v. Klee, 861
F.3d 82, 96 (2d Cir. 2017). Cf. Los Angeles Bar Ass’n v. Eu, 979 F.2d 697, 701 (9th Cir. 1992)
(“Were this court to issue the requested declaration, we must assume that it is substantially likely
that the [] legislature, although its members are not all parties to this action, would abide by our
authoritative determination.”) (citing Franklin v. Massachusetts, 505 U.S. 788, 803 (1992) (“we
may assume it is substantially likely … executive … officials would abide by an [] interpretation
of th[is] … Court, even though they would not be directly bound”)).
    7
       See also Vermont Right to Life Comm., 221 F.3d at 382 (finding plaintiffs had standing
because fear of civil penalties can be as inhibiting of speech as threat of criminal prosecution);
National Org. for Marriage, Inc. v. Walsh, 714 F.3d 682, 689-90 (2d Cir. 2013) (“The fear of
civil penalties can be as inhibiting of speech as can trepidation in the face of threatened criminal
prosecution.”). In Walsh, the court found standing even though the state denied the plaintiff was


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found standing for the plaintiff, who alleged he could not afford to comply with the law, even

though the state had never enforced the statute against anyone. Id. at 737. 8

       The Supreme Court has recognized that federal courts have long found a “case or contro-

versy” and accepted jurisdiction in cases in which “plaintiff's self-avoidance of imminent injury

is coerced by threatened enforcement action of a private party rather than the government.”

Medimmune, Inc. v. Genentech, Inc., 549 U.S. 118, 130 (2007) (citing, e.g., Keener Oil & Gas

Co. v. Consol. Gas Util. Corp., 190 F.2d 985, 989 (10th Cir. 1951); American Mach. & Metals,

Inc. v. De Bothezat Impeller Co., 166 F.2d 535 (2d Cir. 1948)). The Supreme Court and lower

courts have similarly found pre-enforcement challenges to laws with civil sanctions to be ripe for

adjudication. See Abbott Labs. v. Gardner, 387 U.S. 136, 152-53 (1967) (holding action ripe

before prosecution occurred where appellants faced choice between complying with possibly

void regulation and risking “serious” civil penalties); Florida League of Prof’l Lobbyists, Inc. v.

Meggs, 87 F.3d 457, 459 (11th Cir. 1996) (finding ripeness where threat of civil sanctions chills

First Amendment activity).

       Not only does FOSTA authorize a broader array of actors to threaten Plaintiffs with

criminal or civil liability, the breadth of its prohibitions is far more expansive as well. The

Government compares FOSTA to the Travel Act, but this preexisting law prohibits only conduct,

not speech, and applies only to “offenses in violation of the laws of the State in which they are

committed or of the United States.” 9 The Government attempts some misdirection by suggesting


subject to the challenged law, because plaintiff faced a “credible threat” that it would be enforced
against the organization. 714 F.3d at 689-90.
   8
      The court found standing even though it also acknowledged that a ruling against the State
might not bar private litigants from filing actions against the plaintiff. Bland, 88 F.3d at 738.
   9
      18 U.S.C. § 1952(b) (defining “unlawful activity” as a violation of specific state laws).
This requirement is underscored by the Travel Act cases the Government cites, as is the fact that


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that the defendants in the Travel Act cases it cites were engaged in speech because they placed

ads for prostitution activities, but such actions were included only as one aspect of running the

illegal enterprise. 10 The Government’s references to more recent Travel Act prosecutions in-

volving websites are not to the contrary. 11

        In contrast with the Travel Act, FOSTA’s offense of “promoting” or “facilitating” prosti-

tution requires no predicate state offense. Section 2421A does not define what it means to

“promote” or “facilitate” prostitution, or to “contribute to sex trafficking,” or even what consti-

tutes “prostitution.” FOSTA is also much broader substantively than the Travel Act, which

employs but one of the vague terms in FOSTA—“promote.” 12 The Travel Act also does not use



the law applies to physical conduct. E.g., United States v. Bennett, 1996 WL 477048, at *5 (9th
Cir. 1996) (noting jury was instructed on Washington law as to the offenses of engaging in pros-
titution, patronizing a prostitute, or promoting or advancing prostitution) (cited Mot. 11). In each
case, the types of actions found to violate the Travel Act amounted to running or managing a
prostitution enterprise while using an instrumentality of interstate commerce. E.g., United States
v. Reiner, 500 F.3d 10, 13 (1st Cir. 2007) (defendant made all personnel decisions and handled
business’s financial aspects) (cited Mot. 11); United States v. Seals, 2014 WL 3847916, at *9
(W.D. Ark. 2014) (defendant hired prostitutes and handled business’s finances) (cited Mot. 11).
   10
        Mot. 11 (citing Reiner, 500 F.3d at 13; Seals, 2014 WL 3847916, at *9). In Reiner, for
example, the defendant “ran advertisements in Xtreme Magazine, an adult periodical, and in the
adult section of two alternative newspapers, the Portland Phoenix and the Boston Phoenix,” 500
F.3d at 13, but there is no suggestion the Travel Act could have been applied to the publications
themselves. See Doe v. GTE Corp., 347 F.3d 655, 659 (7th Cir. 2003) (“Even entities that know
the information’s content do not become liable for the sponsor’s deeds. Does a newspaper that
carries an advertisement for ‘escort services’ or ‘massage parlors’ aid and abet … prostitution, if
it turns out that some (or many) of the advertisers make money from that activity?”).
   11
        See Mot. 11-12. The Government’s references to United States v. Omuro, No. CR-14-
CR-336 (N.D. Cal.), and United States v. Hurant, No. CR 16-45 (E.D.N.Y.), are to plea agree-
ments, not decided cases, and DOJ offers no detail about the extent to which defendants in those
cases may have been involved in management of prostitution enterprises. The Government also
cites the ongoing prosecution in United States v. Lacey, et al., No. 18-CR-422 (D. Ariz.), Mot.
12, but the purpose of this reference is unclear, as that case has not yet resulted in a ruling.
   12
        18 U.S.C. § 1952(a)(3). The Travel Act uses the term “facilitate” but does so only as in-
tegrally connected to promotion, i.e., to “facilitate [] promotion.” Id.



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the accumulation of other verbs, like “assist,” “support,” or “contribute to,” which manifest

FOSTA’s broader scope.        This expansive reach of FOSTA reinforces the credible fear of

potential prosecution or other liability.

        C.     The History of Regulation and Law Enforcement Actions Directed to
               Online Speech Provides a Credible Basis for Plaintiffs’ Concerns About
               Liability

        The Government’s claim that there is no credible fear of prosecution because “none of

the Plaintiffs (nor anyone like them) has ever been prosecuted under Section 1952,” Mot. 12,

ignores the history of Internet regulation and the series of events that led to FOSTA’s adoption. 13

For nearly a decade, law enforcement officials at the state and local level attempted various ways

to impose criminal and civil liability on Internet intermediaries for hosting speech related to sex,

and when they were unsuccessful, lobbied Congress to remove immunities provided by Section

230. E.g., Letter from Nat’l Ass’n of Attorneys General to Sens. Rockefeller and Thune and

Reps. Upton and Waxman, July 23, 2013 (https://www.eff.org/files/cda-ag-letter.pdf). Civil

litigants who had been actively involved in suing online platforms also sought to modify the law

to make imposing liability easier. 14 FOSTA was the result, and the end product was even



   13
        The Government’s argument seems incongruous as it is juxtaposed with DOJ’s citation of
plea agreements in Omuro and Hurant, cases where it accused websites of violating the Travel
Act by hosting ads for prostitutes. Mot. 11-12. Although Plaintiffs have not alleged fear of
prosecution because of advertising, FOSTA does not require advertising as a predicate act, but
only the “promotion” or “facilitation” of prostitution, with those terms defined (according to
DOJ) as “any act that would cause the unlawful activity to be accomplished or to assist in the
unlawful activity in any way.” Mot. 11 (quoting Bennett, 1996 WL 477048, at *5) (emphasis
added). That is far broader than “advertising.” To the extent the Government claims hosting a
website that allows users “to submit, search, and read reviews of the services offered by
particular prostitutes,” without more, makes out a Travel Act violation, Mot. 11 (citing Omuro),
it only underscores why parties like Plaintiffs reasonably fear prosecution under FOSTA’s
expanded authority given the information and services they provide to sex workers.
   14
        See, e.g., https://sharedhope.org/2017/08/letter-support-stop-enabling-sex-traffickers-act-
2017.


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broader than the changes originally contemplated. 15 In light of this background, Plaintiffs’

concerns about potential liability are well-founded.

               1.      State and Local Law Enforcement Actions

        Since the early days of Internet regulation, law enforcement officials have taken the posi-

tion that they could simply demand that online service providers take down or delete information

alleged to be “illegal,” and then point to their demands as “proof” that the intermediaries “know-

ingly” hosted the information. 16     In 2002, Pennsylvania adopted a law requiring service

providers to block access to websites alleged to display child pornography, based on “informal

notices” from the Attorney General warning of the presence of such content.            Center for

Democracy & Tech. v. Pappert, 337 F. Supp. 2d 606 (E.D. Pa. 2004). The theory behind the law

was the notices provided the requisite “knowledge” that the law was being violated. Id. at 619

¶¶ 53-55, 660. The court invalidated the law even though, on its face, it sought to restrict speech

that could be “completely banned from the Internet,” because “action taken by private actors to

comply with the Act has blocked a significant amount of speech protected by the First Amend-

ment.” Id. at 649-50 (citing United States v. Playboy Entm’t Grp., Inc., 529 U.S. 803 (2000)). 17

   15
       Eric Goldman, ‘Worst of Both Worlds’ FOSTA Signed Into Law, Completing Section
230’s Evisceration, Technology & Marketing Law Blog, April 11, 2018, https://blog.ericgold-
man.org/archives/2018/04/worst-of-both-worlds-fosta-signed-into-law-completing-section-230s-
evisceration.htm.
   16
       This was the model in one of the first reported criminal investigations of an interactive
computer service, where law enforcement, along with several users, notified the Internet service
provider BuffNET that an online newsgroup it hosted was using its service to exchange child
pornography. When the service provider failed to immediately delete the newsgroup, charges
were filed against BuffNET, leading to a guilty plea. See Lawrence G. Walters, Shooting the
Messenger: An Analysis of Theories of Criminal Liability Against Adult-Themed Online Service
Providers, 23 Stan. L. & Pol’y Rev. 171, 174-75 (2012).
   17
       In invalidating the statute, the court also held that the mere prospect that a user of an
online service could deliver such a notice established a “credible threat” of enforcement as to
confer standing on the provider to challenge the law. Pappert, 337 F. Supp. 2d at 648.


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        Despite rulings that such actions to restrict online speech violate the First Amendment,

government actors at various levels have continued to use both formal and informal means to

target and block speech transmitted by online intermediaries.        In 2008, New York’s then-

Attorney General Andrew Cuomo targeted Verizon, Sprint, Time Warner, Comcast and other

ISPs and cable operators with a series of investigations and threats to bring charges of fraud and

deceptive business practices unless they agreed to block newsgroups on the popular Usenet

service that were alleged to contain child abuse images. 18        Though the Attorney General

purported to identify child pornography in only 88 specific newsgroups, Sprint decided to block

all groups in the “alt.*” subgroup, and Time Warner Cable stopped offering access to Usenet

entirely. Comcast, which initially resisted the blocking campaign, finally acceded after the

Attorney General threatened the cable company with imminent and brand-damaging litigation. 19

        For the past decade, similar threats and legal actions have been a constant feature of state

and local law enforcement efforts to restrict online speech they allege may be linked to prostitu-

tion or trafficking. In 2008, 42 state AGs issued a joint statement seeking to limit the “erotic

services” section of Craigslist. See, e.g., http://blog.craigslist.org/2008/11/06/joint-statement-

with-attorneys-general-ncmec. Although Craigslist took voluntary measures in response, seven-

teen of the AGs continued to demand that Craigslist remove its adult services section entirely.

Eric Gershon, State attorneys general ask Craigslist to drop adult services, L.A. TIMES (Aug. 24,

2010), http://articles.latimes.com/2010/aug/24/business/la-fi-craigslist-20100824.


   18
        Declan McCullagh, N.Y. Attorney General Forces ISPs to Curb Usenet Access, CNET
(June 12, 2008), http://www.cnet.com/news/n-y-attorney-general-forces-isps-to-curb-usenet-
access.
   19
        Mike Masnick, Andrew Cuomo Threatens to Sue Comcast if It Doesn't Sign Up for His
Plan to Pretend to Fight Child Porn, Techdirt (July 22, 2008), https://www.techdirt.com/ar-
ticles/20080721/1545501748.shtml.



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        South Carolina Attorney General Henry McMaster took the lead in these efforts, and

threatened Craigslist with “criminal investigation and potential prosecution” for aiding and

abetting prostitution if it did not remove its “erotic services” section as well as any “graphic

pornographic material.” Craigslist responded by ceasing to accept any new postings in its erotic

services subcategory throughout the United States, but also filed a pre-enforcement challenge to

McMaster’s threatened action. 20 McMaster originally claimed he could prosecute Craigslist

under a “generalized knowledge” theory, whereby the website’s continuation of services after

being notified of their “illegal” nature could be taken as “ratification” of the content. However,

the AG subsequently disavowed this theory, and announced he could prosecute Craigslist only if

he could prove it “knew a particular advertisement was related to prostitution.” Following this

disclaimer, the court dismissed the case for lack of standing. Although that holding is inappli-

cable here, 21 the actions of state attorneys general illustrate why online intermediaries err on the

side of over-censoring speech.



   20
       Craigslist, Inc. v. McMaster, No. 2:09-cv-01308-CWH (D.S.C. 2010). The erotic
services category included ads for “legal escort services, massage workers, exotic dancers, erotic
phone lines and other services whose ads often contain adult content.”
   21
        As an unpublished district court opinion from another jurisdiction, Craigslist, Inc. v.
McMaster is not binding here. But even if it were, it is inapposite. In McMaster, the attorney
general effectively retracted his threat, a circumstance that does not apply under FOSTA, where
potential liability may come from multiple levels of government, as well as private litigants.
Moreover, the “generalized theory of liability” that McMaster disavowed is the mens rea
standard FOSTA adopted. More importantly, the court in McMaster, relying on Ord v. District
of Columbia, 587 F.3d 1136, 1140 (D.C. Cir. 2009), applied the wrong standard for evaluating
standing for pre-enforcement challenges in the First Amendment context. More recent cases in
this jurisdiction hold the “imminence” standard in non-First Amendment cases does not apply
when free speech is at issue. Sandvig, 2018 WL 1568881, at *12. See also id. at *6 (“the courts’
willingness to permit pre-enforcement review is ‘at its peak’ when claims are rooted in the First
Amendment”) (citation omitted). See also Act Now to Stop War and End Racism Coalition v.
District of Columbia, 589 F.3d 433, 435-36 (D.C. Cir. 2009) (distinguishing Ord in the First
Amendment context).



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        A similar action was brought by the Sheriff of Cook County, Illinois, Thomas J. Dart,

who filed suit to force Craigslist to eliminate its adult category, claiming it violated criminal laws

against prostitution. Specifically, Dart asserted that by providing a platform for third-party

speech, Craigslist “makes it easier for prostitutes, pimps, and patrons to conduct business,” and

that this violated the Travel Act prohibition against using a facility in interstate commerce with

“intent to ‘promote’ or ‘facilitate the promotion of … unlawful activity,’ including ‘prostitution

offenses in violation of the laws of the State in which they are committed.’” Dart v. Craigslist,

Inc., 665 F. Supp. 2d 961, 963 (N.D. Ill. 2009) (quoting 18 U.S.C. § 1952(a)(3)). This time,

however, the outcome was different—the court dismissed the case, holding it was barred by

CDA Section 230 immunity. Id. at 967-69. 22

        In 2014, Mississippi Attorney General Jim Hood threatened to prosecute Google and

served extensive document subpoenas after demanding that it “take down entire websites that

possibly contain illegal or dangerous content and, in his opinion, facilitate illegal activity,”

including prescription or illicit drug sales, credit card leaks, fraudulent identification documents,

copyright infringement, and human trafficking. Hood’s subpoena included very broad requests

that would require massive document production, seeking, for example, “all documents concern-

ing any actions considered, taken, or not taken to remove videos … that appear to be promoting,

offering for sale, disseminating, engaging in or facilitating Dangerous or Illegal Content/Con-


   22
        In 2015, Sheriff Dart “embarked on a campaign intended to crush Backpage[.com]’s adult
section” by demanding that firms such as Visa and MasterCard prohibit the use of their credit
cards to purchase any ads on Backpage.com. The U.S. Court of Appeals for the Seventh Circuit
issued a preliminary injunction against Dart in November 2015 after finding his actions violated
the First Amendment. Backpage.com LLC v. Dart, 807 F.3d 229 (7th Cir. 2015), cert. denied,
137 S. Ct. 46 (2017). The court held the use of “coercive state power to stifle protected speech
violates a plaintiff’s First Amendment rights, regardless of whether the threatened punishment
comes in the form of the use (or misuse) of the defendant’s direct regulatory or decisionmaking
authority … or in some less-direct form.” Id. at 230-31.



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duct.” Google challenged Hood’s subpoena, and the court found the investigation violated the

First Amendment because it involved “threats of legal action and an unduly burdensome

subpoena.” Google, Inc. v. Hood, 96 F. Supp. 3d 584, 598 (S.D. Miss. 2015). On appeal, the

Fifth Circuit agreed the subpoena raised an important First Amendment issue, but reversed on

ripeness grounds, finding that no steps had been taken to enforce the subpoena. Google, Inc. v.

Hood, 822 F.3d 212, 220, 228 (5th Cir. 2016). Hood later withdrew the subpoena.

        States also adopted legislation aimed at prohibiting online “escort” advertising. In 2012,

legislatures in Washington State, New Jersey, and Tennessee passed laws banning ads for “com-

mercial sex acts,” but federal courts enjoined each one as a violation of the First Amendment and

preempted by Section 230. The courts rejected arguments that the laws prohibited only ads for

illegal transactions. Backpage.com, LLC v. McKenna, 881 F. Supp. 2d 1262 (W.D. Wash. 2012);

Backpage.com, LLC v. Cooper, 939 F. Supp. 2d 805 (M.D. Tenn. 2013); Backpage.com, LLC v.

Hoffman, 2013 WL 4502097 (D.N.J. Aug. 20, 2013). The courts allowed pre-enforcement chal-

lenges even though none of the plaintiffs expressed any intention to carry ads for illegal sexual

transactions. E.g., McKenna, 881 F. Supp. 2d at 1270-71; Cooper, 939 F. Supp. 2d at 818-20.

               2.     Civil Litigation

        The background of civil litigation in this area also supports the conclusion that changes

adopted by FOSTA create a credible threat of liability for Plaintiffs. Private litigants have both

brought suit for violations of Section 1591 before FOSTA’s enactment, including against web-

sites hosting third-party content, 23 and been quick to attempt to capitalize on the newly expanded




   23
       E.g., Doe v. Backpage.com, LLC, 817 F.3d 12, 15, 20 (1st Cir. 2016), cert. denied,
137 S. Ct. 622 (2017); M.A. v. Village Voice Media Holdings, LLC, 809 F. Supp. 2d 1041, 1045,
1056 (E.D. Mo. 2011).



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liability post-enactment as well, 24 including in suits by interest groups targeting websites to

which they object. 25 Nor is there reason to believe potential plaintiffs will be shy in trying to

leverage Section 2421A’s civil action for harm from the “promotion” or “facilitation” of unde-

fined “prostitution” offenses as a means of targeting disfavored speech. Use of civil litigation

against interactive computer services to punish third-party speech asserted to have caused harm,

to deny disfavored speakers a platform, to seek to effect social change, or to simply target deep

pockets, is commonplace. 26 Section 230 generally had barred liability in such cases, see supra

note 26; but see Armslist, 913 N.W.2d 211. However, FOSTA now renders Section 230 protec-

tion unavailable for civil suits based on the amendments and enactments effected by FOSTA.

        D.     Plaintiffs’ Allegations Establish a Reasonable Fear of Liability and First
               Amendment Injury

        In light of this background, Plaintiffs have alleged sufficient factual bases showing a

credible fear of First Amendment injury. FOSTA reaches anyone who owns, manages, or

operates an interactive computer service so as to “promote” or “facilitate” the prostitution of

another, 18 U.S.C. § 2421A(a), as well as anyone who knowingly “assist[s], support[s], or

   24
       E.g., Doe No. 1 v. Backpage.com, LLC, No. 1:17-cv-11069-LTS, Dkt. 64 (D. Mass.
Apr. 12, 2018) (First Amended Complaint filed post-FOSTA after claims alleged by two of three
defendants were dismissed under Section 230).
   25
       E.g., Florida Abolitionist, Inc. v. Backpage.com, LLC, No. 6:17-cv-00218-JA-TBS,
Dkt. 86, ¶¶ 4, 41, 174-81 (M.D. Fla. Apr. 30, 2018) (seeking, inter alia, retroactive application of
removal of Section 230 immunity by FOSTA).
   26
        Fields v. Twitter, Inc., 881 F.3d 739 (9th Cir. 2018); Daniel v. Armslist, LLC, 913
N.W.2d 211 (Wis. Ct. App. 2018); Force v. Facebook, Inc., 304 F. Supp. 3d 315 (E.D.N.Y.
2018), appeal docketed, No. 18-397 (2d Cir. Feb. 9, 2018); Dyroff v. Ultimate Software Grp.,
Inc., 2017 WL 5665670 (N.D. Cal. Nov. 26, 2017); Jones v. Dirty World Entm’t Recordings
LLC, 755 F.3d 398 (6th Cir. 2014); Klayman v. Zuckerberg, 753 F.3d 1354 (D.C. Cir. 2014);
Fair Housing Council of San Fernando Valley v. Roommates.com, LLC, 666 F.3d 1216 (9th Cir.
2012); Kruska v. Perverted Justice Found., IncorporatedOrg, 2011 WL 1260224 (D. Ariz. Apr.
5, 2011); Doe v. MySpace, Inc., 528 F.3d 413 (5th Cir. 2008); Doe v. Friendfinder Network, Inc.,
540 F. Supp. 2d 288 (D.N.H. 2008).



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facilitat[es]” commercial sex acts constituting trafficking, id. § 1591(a), (e)(4), and imposes

heightened liability for “reckless disregard” of whether one’s conduct “contribut[es] to sex

trafficking.”   Id. § 2421A(b).    The Government acknowledges these operative terms are

undefined (and unrestricted) in the Act, and that their “sweep is vast.” Mot. 16, 23.

        Eric Koszyk: Mr. Koszyk had his speech curtailed and was thus injured when Craigslist

eliminated its Therapeutic Services section in direct response to FOSTA, and prevented ads pre-

viously posted there from migrating to its Skilled Services section. Compl. ¶¶ 56, 96-98. This

deprived Mr. Koszyk of his primary platform for advertising his licensed massage services. Id.;

Decl. of Eric Koszyk, Dkt. 5-4 (“Koszyk Decl.”), ¶¶ 21-24. These harms flow directly from

Craigslist’s prior experience being targeted by state attorneys general and local law enforcement

under pre-FOSTA law as outlined above, and reflects credible fear of similar attention under

FOSTA. See id. ¶ 55. Indeed, Craigslist expressly stated it could not “take such risk without

jeopardizing [its] other services,” and that it had to over-censor its service to avoid potential

liability under FOSTA. 27

        That Koszyk’s actions “do not fall within those proscribed by the Act,” is irrelevant.

Mot. 10. He was injured as a result of FOSTA’s impact on Craigslist even though he himself is

not a potential target of prosecution. This loss of access to his intended audience due to the

effects of FOSTA constitutes First Amendment injury sufficient to confer standing. E.g., White

Tail Park, Inc. v. Stroube, 413 F.3d 451, 461 (4th Cir. 2005). 28 In this respect, the harm Mr.

   27
       Compl. ¶ 55; Decl. of Kate D’Adamo, Dkt. 5-1 (“D’Adamo Decl.”), ¶ 10. See About
FOSTA, CRAIGSLIST, https://www.craigslist.org/about/FOSTA (last visited June 12, 2018).
Users now receive “404 Errors” if they try to access URLs where Craigslist’s personal formerly
appeared. D’Adamo Decl., ¶ 10.
   28
       Standing is established on these facts even if other venues or opportunities to reach the
audience may be found. Stroube, 413 F.3d at 461 (citing Irish Lesbian & Gay Org. v. Giuliani,
143 F.3d 638, 649 (2d Cir. 1998)).


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Koszyk experienced and alleges in the Complaint is representative of the broad class of ordinary

speakers harmed by FOSTA, through the reaction of various outlets for online speech to the

law’s enactment. See Compl. ¶¶ 57-60, 75; D’Adamo Decl. ¶¶ 11, 13.

        That injury can be redressed by the Court voiding FOSTA, which would staunch

Craigslist’s credible fear of prosecution and allow it to follow through on its stated intent to re-

open the platform to Mr. Koszyk’s ads. See Compl. ¶ 101; D’Adamo Decl. ¶ 10. This direct,

tangible harm already has been experienced and is ongoing due to FOSTA. It does not depend

on any future action by prosecutors or civil litigants, and it is sufficient to give Mr. Koszyk

standing. This by itself confers subject matter jurisdiction on the Court, defeats DOJ’s motion,

and requires to Court to address the merits of the Complaint. 29

        Woodhull Freedom Foundation: Woodhull likewise has already curtailed pursuit of its

mission through use of the Internet in the wake of FOSTA. Because of a legitimate concern that

its advocacy and support of sex workers could be targeted as “promoting” or “facilitating”

prostitution, Woodhull censored information on its website that could assist sex workers

negatively impacted by the law. Compl. ¶¶ 64-65; Decl. of Ricci Levy, Dkt. 5-2 (“Levy Decl.”),

¶¶ 31-32. Woodhull also was inhibited from posting other resources for sex workers on its site,

from voicing on its blog and in social media opposition to FOSTA’s enforcement against

marginalized sex workers, and from allowing third parties to post similar material on Woodhull’s

Sex and Politics blog. Compl. ¶¶ 83-84; Levy Decl. ¶ 28. Additionally, for Woodhull’s annual

signature event, a multi-day Sexual Freedom Summit (“Summit”), scheduled this year for

August 2-5 in Alexandria, Virginia, see Compl. ¶¶ 66, 71; Levy Decl. ¶ 16, FOSTA deterred it
   29
        In a facial challenge with multiple parties, only one plaintiff need demonstrate standing.
Once a plaintiff has done so, the District Court need not consider whether the others also have
standing. See, e.g., Watt v. Energy Action Educ. Found., 454 U.S. 151, 160 (1981); Bookfriends,
Inc. v. Taft, 223 F. Supp. 2d 932, 939 n.6 (S.D. Ohio 2002).



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from fully promoting the portions dedicated to sex workers. Compl. ¶¶ 72-74, 77-79; Levy Decl.

¶¶ 32-36. After concerns about FOSTA led Desiree Alliance to cancel its July 2019 conference

in which it planned to address human, labor, and civil rights for sex workers, Woodhull

reluctantly declined an offer to incorporate some of its workshops into the Summit. Woodhull

explained it could not take the risk of presenting the information given the uncertainty created by

FOSTA. Compl. ¶ 82; Levy Decl. ¶ 40.

        Woodhull’s fear is credible given the broad, vague, and undefined prohibitions contained

in FOSTA and Woodhull’s intention to make sex work safer and thus easier. Compl. ¶¶ 67, 84,

Levy Decl. ¶¶ 17, 42. Workshops at the Summit have included information and advice for sex

workers that goes beyond advocacy for “harm reductions, disability, age, health and personal

safety.” Mot. 9 (quoting Compl. ¶¶ 66-67). For example, past workshops have included advice

on client screening for sex workers, human rights to engage in prostitution, and efforts to

legitimize the sex work industry. Compl. ¶¶ 68-69; Levy Decl. ¶¶ 19-20. 30 And Woodhull

intends to disseminate Summit content online, including portions where sex workers identify

themselves as such and may provide contact information, through services such as a Facebook

Live feed and live tweets on Twitter. Compl. ¶¶ 80-81.

        By giving specific sex workers this online platform, Woodhull could well be seen by

some as “facilitating or promoting the prostitution of another person.” Unlike the Travel Act,

FOSTA does not require a violation of specific state law to support a prosecution or civil claim

under Section 2421A. See supra 11. Rather, Section 2421A prohibits “promotion” or “facili-
   30
        The 2018 Summit will include workshops that provide information on “better practices
for sex workers,” how to engage in supportive relationships with sex workers, how to balance
sex work with personal time, how to safely write online profiles, and how to reduce the risk of
prosecution when seeking aid from the police by calling 911. Dkt. 11, pp.5-7. Woodhull pub-
lishes contact information for sex workers on its own website, and promotes this information on
various third party social media platforms. Compl. ¶ 78; Levy Decl. ¶¶ 23-24.



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tation” of the “prostitution” of another person, without defining what constitutes “prostitution”

for these purposes. Nor does this provision require that a specific individual’s prostitution be

promoted, rather than that of a “person” in the abstract. 31 As the Government pointed out, all

that “promotion” of prostitution requires is “caus[ing it] to be accomplished or [] assist[ed] … in

any way.” Mot. 11 (alteration added, prior alteration omitted). Woodhull’s online presence

advocating for sex workers and providing information that makes sex work easier, and the extent

to which content at the Summit which is placed online does the same, could easily be targeted as

“assisting in any way” the prostitution of sex workers Woodhull seeks to serve.

        Such concerns are entirely plausible given the significant number of Government actions

that have been taken to silence advocacy on behalf of sex workers. See, e.g., Agency for Int’l

Dev. v. Alliance for Open Society Int’l, Inc., 570 U.S. 205 (2013) (construing statute supported

by congressional pronouncement “that ‘it should be the policy of the United States to eradicate’

prostitution and ‘other sexual victimization’”) (quoting statutory findings). FOSTA simply pro-

vides the Government and private advocates with another tool to pursue these policy objectives.

        Human Rights Watch: FOSTA similarly could be reasonably interpreted to apply to

HRW’s human rights advocacy because HRW, like Woodhull, seeks to make sex work safer and

thus easier by, among other things, advocating for sex workers’ rights and safety, and by

documenting abuses against them in the U.S. and internationally. Compl. ¶¶ 86, 88, 91; Decl. of

Dinah PoKempner, Dkt. 5-3 (“PoKempner Decl.”), ¶ 5. HRW also advocates that sex work be

decriminalized. Id. Further, and even more critical for present purposes, HRW makes it easier


   31
        Even if violation of a specific state statute was required, Virginia’s statutory prohibition
on “Aiding Prostitution or Illicit Sexual Intercourse” makes it unlawful for any person to “give
any information or direction to any person with intent to enable such person to commit an act of
prostitution.” Va. Code Ann. § 18.2-348. This prohibition is broad enough to potentially reach
the type of harm-reduction activities facilitated by Woodhull.



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for sex workers to avoid detection by law enforcement by forewarning them of methods police

use to discover and shut down sex work, including searches of women for condoms as evidence

of prostitution. Id. HRW conducts these efforts through reports, press releases, videos, podcasts

and other online documents on its website and social media accounts. Id. All of this, like

Woodhull’s efforts, could be characterized as “facilitating” prostitution of sex workers by

prosecutors or civil litigants inclined to press the point. Moreover, as HRW relies heavily on

third parties to share its reporting and advocacy through online social media, any inhibition of

platforms or websites that host, publish, or allow users to disseminate HRW’s reports and

advocacy based on concerns over FOSTA (as with Craigslist’s termination of service that Mr.

Koszyk relied upon) directly affects HRW’s ability to engage in protected speech. Compl. ¶ 92;

PoKempner Decl. ¶¶ 8-9.

       Alex Andrews: Ms. Andrews alleges both credible fear of penalties from operating the

Rate That Rescue website as a platform for third parties to share information about organizations

that provide services sex workers use, Compl. ¶¶ 106-111; Decl. of Jesse Maley, Dkt. 5-5

(“Maley Decl.”), ¶¶ 12, 23, and First Amendment injury that has already occurred when she put

a hold on acquisition of an in-development reporting application due to FOSTA. Compl. ¶¶ 117-

119; Maley Decl. ¶¶ 32-39. Andrews intends both the website and the app will make sex work

safer and easier, and thus faces the same concerns as Woodhull or HRW. The very fact that Rate

That Rescue was established by sex workers and advocates for them to improve their lives,

health, safety, and wellbeing creates existential doubts given the speech that FOSTA crim-

inalizes. Compl. ¶ 115; Maley Decl. ¶¶ 27-31.

       Not only do organizations listed on Rate That Rescue provide mundane services to sex

workers, Compl. ¶ 109; Maley Decl. ¶ 21, making the work easier, evaluations of “rescue




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services” that move sex workers out of trafficking into consensual sex work, rather than out of

sex work altogether, see Compl. ¶ 109; Maley Decl. ¶ 16, also could be viewed as “facilitating”

sex work. This raises real concerns that Andrews could be seen as recklessly disregarding the

risk that, by making sex work easier, she “contribut[ed] to sex trafficking.” See 18 U.S.C.

§ 2421A(b)(2); compare Compl. ¶¶ 112, 130 (“Congress believes that prostitution and sex traf-

ficking are inextricably linked”) (quoting H.R. Rep. No. 115-572, pt. 1, at 6). Likewise, the in-

development app that Andrews decided not to purchase sought to serve the same end by reducing

dangers sex workers face, by allowing users to report violence, harassment, and other harmful

behavior, to create a database of reports other sex workers can query. Compl. ¶¶ 117-118; Maley

Decl. ¶ 33. This affects both the platform’s First Amendment rights, and those of its users.

       Ms. Andrews faces especial risk from FOSTA to the extent Rate That Rescue allows

users to post reviews—positive or negative—about various ”rescue” organizations, see Compl.

¶¶ 106, 108, 114, because organizations dissatisfied with a review posted by a Rate That Rescue

user could well want recourse from the site itself. As noted, providing a service that makes sex

work easier could readily be targeted as violating the prohibition on “promoting” or “facilitating”

the prostitution of another under Section 2421A, and Section 2421A(c) authorizes civil claims

for “any person” “injured by” such a violation. A disgruntled service reviewed at Rate That

Rescue could allege the site is an interactive computer service that promotes or facilitates

prostitution of 5 or more persons (or acts in reckless disregard of contributing to trafficking), and

in doing so “injured” the reviewed service—on such theories as trade libel, interference with

contractual relations or business opportunities, or similar torts—entitling the poorly reviewed

service to recovery. Cases of plaintiffs alleging harm by interactive computer services that allow




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customers/users to review businesses are prevalent in Section 230 jurisprudence. 32            While

Section 230 almost uniformly provides immunity, see supra note 32 (citing cases), FOSTA’s

retrenchment of Section 230 immunity in conjunction with amending Section 1591 and enacting

Section 2421A limits the protection it provides.

        Internet Archive: Although the Archive does not intend to promote sex trafficking or

prostitution, it intentionally stores and displays a vast amount of both historical website data and

third-party content that it has “no practical ability to evaluate the legality of.” Decl. of Brewster

Kahle, Dkt. 5-6 (“Kahle Decl.”), ¶ 14; Compl. ¶¶ 122-124. Accordingly, it is entirely possible

(likely, even) that as it “crawls” online content, some fraction that it preserves could be alleged

to violate Sections 1591 or 2421A. The Archive also hosts material that third parties upload.

Given this activity, the Archive has alleged reasonable fear of prosecution under FOSTA, and

otherwise alleges facts sufficient to establish its standing.

        The Archive was a plaintiff in Backpage.com v. McKenna, where it was explicitly found

to have standing for a facial challenge to the state law at issue, based on a credible threat it would

be invoked against it, notwithstanding State claims that the Archive could not “‘knowingly’

publish, disseminate, or display illegal content” under the enactment. 881 F. Supp. 2d at 1270.

The same should hold true here, despite DOJ claims that the Archive “does not allege an

intention to engage in a course of conduct proscribed by” FOSTA. Mot. 10. Even if the Archive

did not fear potential prosecution, it would have standing based on FOSTA’s dampening of


   32
       See, e.g., Hassell v. Bird, 420 P.3d 776 (Cal. 2018); Bennett v. Google, Inc., 882 F.3d
1163 (D.C. Cir. 2018); Icon Health & Fitness, Inc. v. Consumer Affairs.com, 2017 WL 2728413
(D. Utah June 23, 2017); Kimzey v. Yelp!, Inc., 836 F.3d 1263 (9th Cir. 2016); Roca Labs, Inc. v.
Consumer Opinion Corp., 140 F. Supp. 3d 1311 (M.D. Fla. 2015); Asia Econ. Inst. v. Xcentric
Ventures LLC, 2011 WL 2469822 (C.D. Cal. May 4, 2011); Nemet Chevrolet, Ltd. v.
Consumeraffiairs.com, Inc., 591 F.3d 250 (4th Cir. 2009); MCW, Inc. v. Badbusiness-
bureau.com, LLC, 2004 WL 833595 (N.D. Tex. Apr. 19, 2004).



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Internet speech that affects the Archive’s mission of preserving access to online information for

the general public, see Reno II, 31 F. Supp. 2d at 480-81 n.2, based on First Amendment

protection of the right to “receive information and ideas.” Virginia State Bd. of Pharmacy v.

Virginia Citizens Consumer Council, Inc., 425 U.S. 748, 757 (1976); Pacific Gas & Elec. Co. v.

Public Utils. Comm’n of Cal., 475 U.S. 1, 7 (1986). That aside, given FOSTA’s ambiguity, it is

unclear if the Archive will be required to have specific knowledge that the content it hosts

somehow “supports or assists sex trafficking or promotes or facilitates prostitution.”

       Even were specific knowledge required, the Archive is vulnerable to prosecution or civil

liability under FOSTA to the extent a Government actor or putative private litigant could purport

to put it on notice that some content it hosts “promotes” or “facilitates” prostitution, or con-

tributes to sex trafficking, see 18 U.S.C. § 2421A(a)-(c), then invoke Section 2421A or Section

1591 if the Archive fails to remove the content. This was the approach New York State followed

in the BuffNET case and South Carolina followed in clamping down on Craigslist. See supra 14

n.16. See also Pappert, 337 F. Supp. 2d at 648 (mere prospect that user of an online service

could deliver such a notice established a “credible threat” of enforcement as to confer standing).

       In Reno, 521 U.S. 844, the Supreme Court expressly noted this kind of “heckler’s veto”

creates First Amendment problems (and thus, implicitly, injury for standing). Id. at 880. In that

case, the Court rejected as “untenable” the Government’s “assertion that [a] knowledge require-

ment somehow protects [] communications,” when “[e]ven [its] strongest reading” nonetheless

“would confer broad powers of censorship … upon any opponent of [] speech who might simply

log on and inform” a service provider that certain speech falls with a challenged statute. Id.

Later, in SBA List, 134 S. Ct. 2334 (cited Mot. 7-9, 25), one factor that strongly supported the

Court’s finding of standing was that Ohio’s false statement law allowed “any person” with




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knowledge of the purported violation to file a complaint. Id. at 2345. FOSTA is even more

threatening in this regard because anyone may target online speech by purporting to notify a

hosting service (like Plaintiff Internet Archive) that a post facilitates prostitution or trafficking.

                                                ****

        All told, the allegations and affidavits in this case fully support standing, by showing a

credible threat of prosecution or liability, in addition to extant self-censorship by the Plaintiffs.

And while that more than suffices to establish subject matter jurisdiction and defeat DOJ’s

motion to dismiss under Rule 12(b)(1), in a case like this, involving a pre-enforcement challenge

to a law that regulates speech, the relevant standard is that the Court should “assume a credible

threat of prosecution in the absence of compelling contrary evidence,” see supra 3 (quoting Reno

II, 31 F. Supp. 2d at 480), of which the Government has produced none. When First Amendment

rights are at issue, the Court should “not uphold an unconstitutional statute merely because the

Government promised to use it responsibly.” United States v. Stevens, 559 U.S. 460, 480 (2010)

(“[T]he First Amendment protects against the Government; it does not leave us at the mercy of

noblesse oblige.”).

II.     PLAINTIFFS’ ALLEGATIONS ON THE MERITS STATE CLAIMS ON WHICH
        RELIEF CAN BE GRANTED

        The facts set forth above easily meet the standard to survive a motion to dismiss under

Rule 12(b)(6) that a plaintiff must proffer “enough facts to state a claim to relief that is plausible

on its face.” Twombly, 550 U.S. at 570; Iqbal, 556 U.S. at 678, supra 2. The only question is

whether those facts relate to valid legal claims. The Government insists they do not based on

two theories: (1) that managing an “interactive computer service,” such as a website, is not

“speech” protected by the First Amendment; and (2) that if FOSTA regulates any speech, it only

regulates speech the First Amendment does not protect. Neither is correct.



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       A.      “Use” or “Operation” of “Interactive Computer Services” is Inherently
               Speech and Thus Protected by the First Amendment

       FOSTA is inherently and inescapably a direct regulation of speech and thus subject to

First Amendment scrutiny. Newly created Section 2421A applies only to one who “owns,

manages, or operates an interactive computer service, as such term is defined in … 47 U.S.C.

230(f).” 18 U.S.C. § 2421A(a), (b). And FOSTA further amends 47 U.S.C. § 230, which, as

explained by Congress, uses the same language. See FOSTA § 2.

       In an unbroken chain of authority since the popular adoption of online services, courts

across the country have held that the use, maintenance, operation, and management of social

media platforms, websites, and other “interactive computer services” is speech protected by the

First Amendment.      See, e.g., Reno v. ACLU, 521 U.S. at 867-68 (striking down on First

Amendment grounds law restricting interactive computer services from transmitting indecent

content to minors); Packingham v. North Carolina, 137 S. Ct. 1730, 1737 (2017) (striking down

on First Amendment grounds a ban on use of social media); Brown v. Entm’t Merch. Ass’n, 564

U.S. 786, 799 (2011) (striking down on First Amendment grounds law restricting creation and

sale of certain video games); Zeran v. Am. Online, Inc., 129 F.3d 327, 330-31 (4th Cir. 1997)

(explaining that tort liability for online hosting of third-party communications was a speech

regulation that had an “obvious chilling effect”); Knight First Amendment Inst., 302 F. Supp. 3d

at 575 (holding governmental operation of social media account subject to First Amendment

restrictions); e-ventures Worldwide, LLC v. Google, Inc., 2017 WL 2210029, at *4 (M.D. Fla.

Feb. 8, 2017) (“The First Amendment protects [online publishing] decisions, whether they are

fair or unfair, or motivated by profit or altruism.”); La’Tiejira v. Facebook, Inc., 272 F. Supp. 3d

981, 991-92 (S.D. Tex. 2017) (“online publishers have a First Amendment right to distribute

others’ speech and exercise editorial control on their platforms”); Jian Zhang v. Baidu.com Inc.,



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10 F. Supp. 3d 433, 438-39 (S.D.N.Y. 2014) (holding that when online platforms “select and

arrange others’ materials, and add the all-important ordering that causes some materials to be

displayed first and others last, they are engaging in fully protected First Amendment

expression—‘[t]he presentation of an edited compilation of speech generated by other persons”);

United States v. Cassidy, 814 F. Supp. 2d 574, 582 (D. Md. 2011) (applying First Amendment

scrutiny to law criminalizing use of interactive computer service to harass); Langdon v. Google,

474 F. Supp. 2d 622, 629-30 (D. Del. 2007) (holding search engine’s decisions about what ads to

place on its platform are speech protected by the First Amendment); Pappert, 337 F. Supp. 2d at

652 (striking down statute requiring Internet service providers to block child pornography

websites as unconstitutional speech restriction); Search King Inc., v. Google Tech., Inc., 2003

WL 21464568, at *4-5 (W.D. Okla. May 27, 2003) (holding search engine’s website rankings to

be speech protected by First Amendment); New.Net, Inc. v. Lavasoft, 356 F. Supp. 2d 1071,

1081-82 (C.D. Cal. 2003) (holding automated software that detected and removed adware was

protected by First Amendment); Cubby, Inc. v. CompuServe, Inc., 776 F. Supp. 135 (S.D.N.Y.

1991) (applying First Amendment and common law protections to online platform). 33


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        With respect to Section 230 particularly, numerous courts have acknowledged a First
Amendment predicate to the law. See, e.g., Google v. Hood, 822 F.3d at 220 (“First Amendment
values … drive the CDA,”); Batzel v. Smith, 333 F.3d 1018, 1027-29 (9th Cir. 2003) (Section
230 was added to Exon’s original bill “to further First Amendment and e-commerce interests on
the Internet while also promoting the protection of minors”); Delfino v. Agilent Techs., Inc., 145
Cal. App. 4th 790, 802-03 (2006) (Section 230 was intended to “avoid the chilling effect upon
Internet free speech” that would arise from imposing liability on intermediaries); People v.
Ferrer, 2016 WL 7237305, at *3 (Cal. Super. Ct. Dec. 9, 2016) (“Ferrer I”) (“the relevant
question in this case is whether, and to what extent, Defendants’ activities entitle them to
protection of their First Amendment rights through the immunity provision of the CDA”);
People v. Ferrer, No. 16FE024013, slip op. 11 (Cal. Super. Ct. Aug. 23, 2017) (“Ferrer II”)
(“[T]he protections afforded by the First Amendment were the motivating factors behind … the
CDA.”). Courts have invalidated state efforts to restrict online classified ad sites under both the
First Amendment and Section 230. McKenna, 881 F. Supp. 2d at 1275-84; Hoffman, 2013 WL
4502097, at *7-10; Cooper, 939 F. Supp. 2d at 828-40.



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       Most recently, in this Court, Judge Bates wrote at length on “the First Amendment status

of the Internet” and made clear that regulating this medium inherently has First Amendment

implications. He expressly rejected DOJ’s argument that enforcing the CFAA against plaintiffs

did not raise a First Amendment issue, observing that the Internet “is a ‘dynamic, multifaceted

category of communication’ that ‘includes not only traditional print and news services, but also

audio, video, and still images, as well as interactive, real-time dialogue.’” Sandvig, 2018 WL

1568881, at *4 (quoting Reno, 521 U.S. 870). He added, “[w]ith this special status comes

special First Amendment protection.” Id. DOJ cites no contrary authority—in fact, cites no

authority at all for its assertion that Plaintiffs fail to allege First Amendment harms. FOSTA,

which specifically targets online modes of communication, must be subject to First Amendment

scrutiny.

       B.      FOSTA Regulates Protected Speech Because the First Amendment
               Protects Speech Even if it Relates to Illegal Activities

       The Government’s central argument that Congress can proscribe any speech that pro-

motes or facilitates an illegal act because that speech is never protected by the First Amendment

is contrary to decades of well-established precedent. Mot. 14-15, 18. The Supreme Court has

long held the First Amendment prohibits outlawing all speech related to or adjacent to illegal

activity, even when some applications may properly proscribe unprotected speech. De Jonge v.

Oregon, 299 U.S. 353 (1937). In De Jonge, an Oregon anti-syndicalism statute was struck down

as unconstitutional because it went beyond criminalizing proscribable incitement “to effect

revolutionary changes in government,” to also reach peaceful political activity, such as planning

and attending a meeting of the Communist Party. Id. at 362-63.

       The First Amendment also prohibits imposing liability on individuals because their

speech is adjacent to or occurring at the same time or in the same context as unprotected activity



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that may give rise to liability. NAACP v. Claiborne Hardware Co., 458 U.S. 886, 928-29 (1982)

(holding First Amendment does not permit state to impose civil liability on constitutionally

protected activity without distinguishing between advocacy for acts that may be attenuated from

illegal activity on the one hand, and conduct of the illegal activity on the other). In Brandenburg

v. Ohio, 395 U.S. 444 (1969), the Court’s ruling striking down Ohio’s anti-syndicalism law made

clear that abstract advocacy of illegal conduct is protected speech. A speaker is liable for

inciting illegal activity only if the speech is “directed to inciting or producing imminent lawless

action and is likely to incite or produce such action,” and any statute that is not cabined within

those limitations is facially unconstitutional. Id. at 447. The Ohio law was unconstitutionally

overbroad on its face because it did not cabin its prohibitions within that limited framework. Id.

at 448-49. 34 See Pappert, 337 F. Supp. 2d at 649-50 (statute regulating online speech violates

the First Amendment under overbreadth doctrine even though it is directed at prohibiting only

“child pornography, which can be completely banned from the Internet”).

        The Government’s argument that FOSTA is not subject to strict scrutiny must be rejected

for similar reasons. Mot. 19. Despite the Government’s unelaborated contention that “the

various provisions of FOSTA are a far cry from the content-based signage restrictions at issue in

Reed v. Town of Gilbert, 135 S.Ct. 2218, 2227 (2015), or the posted notice requirement in Nat’l

Inst. of Family & Life Advocates v. Becerra, 138 S.Ct. 2361, 2371 (2018),” the statute easily

satisfies the definitions of “content-based” laws set forth in Reed: “those that target speech

based on its communicative content,” 135 S. Ct. at 2226; those that apply “to particular speech
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       The Ohio Law improperly punished “persons who ‘advocate or teach the duty, necessity,
or propriety’ of violence ‘as a means of accomplishing industrial or political reform’; or who
publish or circulate or display any book or paper containing such advocacy; or who ‘justify’ the
commission of violent acts ‘with intent to exemplify, spread or advocate the propriety of the
doctrines of criminal syndicalism’; or who ‘voluntarily assemble’ with a group formed ‘to teach
or advocate the doctrines of criminal syndicalism.’” Brandenburg, 395 U.S. at 448.



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because of the topic discussed or the idea or message expressed,” id. at 2227; and “laws that

cannot be justified without reference to the content of the regulated speech.” Id. (citation and

internal quotation marks omitted).

       The Government’s contention that the law is not content-based because it regulates

speech “only with respect to illegal activity” is wrong. As explained above, the law penalizes far

more speech than “illegal activity.” Mot. 20. But even if FOSTA were a restriction on only a

subset of unprotected speech, it must still survive strict scrutiny. As the Supreme Court held in

R.A.V. v. City of St. Paul, 505 U.S. 377, 384 (1992), “Our cases surely do not establish the

proposition that the First Amendment imposes no obstacle whatsoever to regulation of particular

instances of such proscribable expression, so that the government ‘may regulate [them] freely.’”

Id. at 385. “Such a simplistic, all-or-nothing-at-all-approach to First Amendment protection is at

odds with common sense and with our jurisprudence as well.” Id. See also id. at 387-88

(holding First Amendment imposes a “‘content discrimination’ limitation upon a State’s

prohibition of proscribable speech”).

       More generally, the Government continues to hold to the erroneous belief that FOSTA

only restricts online advertising of sex work, which the Government contends is not protected by

the First Amendment. This reading of the law contradicts both the plain language of FOSTA and

decades of First Amendment law.

       First, FOSTA clearly covers more speech than advertising: it criminalizes any speech

that assists, facilitates, or supports sex trafficking, 18 U.S.C. § 1591(e)(4), or promotes or

facilitates prostitution, 18 U.S.C. § 2421A(a), with enhancements for conduct that “contributes to

sex trafficking,” 18 U.S.C. § 2421A(b)(2). Nor did FOSTA disturb the separate provisions for

advertising that already existed in Section 1591. Prior to FOSTA, Section 1591, using the




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language “except where the act constituting the violation of paragraph (1) is advertising,” had

separate mens rea standards for advertising and for other conduct that was not advertising but

otherwise constituted “participation in a venture” of sex trafficking. FOSTA amended only the

definition of “participation in a venture,” and left the advertising provisions untouched.35

Section 2421A, in comparison, cannot be read as limited to advertising—the word does not

appear in the section at all—as Congress instead chose to criminalize much broader categories of

speech and conduct by using inclusive terms such as “facilitate,” promote” and “contribute to.”

        Second, the Government incorrectly asserts that because “sex work is, by definition, a

commercial activity,” there can be no non-commercial speech related to it. Mot. 19. But speech

that is itself non-commercial does not lose its unqualified First Amendment protection simply

because it is related to a commercial transaction. “Commercial speech” is limited to “expression

related solely to the economic interests of the speaker and its audience,” that is, “speech

proposing a commercial transaction.”      Central Hudson Gas & Elec. Corp. v. Public Serv.

Comm’n of New York, 447 U.S. 557, 561, 562 (1980).               Restrictions on speech by non-

commercial actors directed at commercial actors (and for the latter’s commercial benefit) do not

regulate commercial speech.      Sorrell v. IMS Health, Inc., 564 U.S. 552, 566-67 (2011).

Moreover, speech that is itself traded in commerce, such as newspapers and books, is not

commercial speech, even though it is a commercial activity.          See Pittsburgh Press Co. v.

Pittsburgh Comm’n on Human Rights, 413 U.S. 376, 384 (1973) (“[S]peech is not rendered

commercial by the mere fact that it relates to an advertisement.”); New York Times Co. v.


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       As a result, advertising, which the Government claims is the chief evil FOSTA seeks to
address, is actually treated more favorably under the law—liability must be based on specific
knowledge that an ad is for a coerced or minor participant, whereas liability for otherwise partici-
pating in a sex trafficking venture (that is, assisting, facilitating, or supporting it) requires an
undetermined mens rea, but no more than a reckless disregard. 18 U.S.C. § 1591(e).



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Sullivan, 376 U.S. 254, 266 (1964) (“That the Times was paid for publishing the advertisement is

as immaterial in this connection as is the fact that newspapers and books are sold.”); Smith v.

California, 361 U.S. 147 (1959). 36

        But even if the Government were correct, and FOSTA could be read to apply only to

online advertising, it would not free the Government from First Amendment scrutiny. Three

states adopted statutes to prohibit the knowing publication, display, or dissemination of ads for

commercial sex acts that include depictions of minors, and in each case, courts enjoined

enforcement in pre-enforcement challenges and held the laws facially invalid. McKenna, 881

F. Supp. 2d 1262; Cooper, 939 F. Supp. 2d 805; Hoffman, 2013 WL 4502097. The laws were

struck down on several First Amendment bases, but of pertinence here, the courts held they were

overbroad because, like FOSTA, the laws “encompasse[d] more than offers to engage in illegal

transactions” and “pertain[ed] to both commercial and non-commercial speech.” McKenna, 881

F. Supp. 2d at 1280-81. Accord Cooper, 939 F. Supp. 2d at 831-32; Hoffman, 2013 WL

4502097, at *8-10.

        C.     Plaintiffs Have Adequately Stated Claims for Violations of Their First
               Amendment Rights

        As set forth in the Complaint, Plaintiffs’ First Amendment rights have been violated

because FOSTA is unconstitutionally overbroad, fails strict scrutiny, and is vague.

               1.     FOSTA is Overbroad

        Plaintiffs have clearly stated a claim that FOSTA is overbroad, indicating the specific

language of the statute that broadly and inclusively criminalizes protected speech. FOSTA

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       Laws that criminalize such speech are analyzed as content-based restrictions on non-
commercial speech. See Brown, 564 U.S. at 790-91 (striking down law banning sale of violent
video games); Stevens, 559 U.S. 460 (striking down law banning commercial creation and sale of
videos depicting animal cruelty). See also N.Y. Times, 376 U.S. at 266 (applying First
Amendment to defamation claims derived from contents of advertisement).



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reaches beyond solicitation of prostitution to potentially criminalize any online speech intended

to make sex work safer and easier, that is, to “facilitate” the prostitution of another person, or

“promote” the prostitution of another person by publicly identifying a person as a sex worker and

providing that person’s contact information online. See generally 18 U.S.C. § 2421A. The

Government, for its part, concedes that FOSTA’s “sweep” is “vast.” Mot. 16.

       The Government’s reliance on United States v. Williams, 553 U.S. 285 (2008), only

supports the sufficiency of Plaintiffs’ Complaint. In Williams, the Court read the multiple verbs

in 18 U.S.C. § 2252A(a)(3)(B)—advertises, promotes, presents, distributes, or solicits—as

prohibiting “offers to provide and requests to obtain child pornography.” Id. at 293. It reasoned

that three of the operative verbs—advertises, distributes, and solicits—have well-defined

meaning and clearly prohibited transactions of child pornography that would not be protected by

the First Amendment. Id. at 294. The Court recognized the statute’s two other verbs—promotes

and presents—“are susceptible to multiple and wide-ranging meanings” but found that their

inclusion with other terms narrowed their reach to include only unprotected speech. Id.

       FOSTA, by contrast, contains no such limiting language. The operative verbs in Section

2421A(a)—“promotes” and “facilitates”—are, as the Court found in Williams, susceptible to

“multiple and wide-ranging meanings.” Unlike the statute at issue in Williams, however, they

are not linked to other well-defined verbs that might cabin them to only proscribe unprotected

speech. Williams, 553 U.S. at 294; see Mot. 19-22. The Government admits these terms broadly

apply to merely require some conduct that “cause[s prostitution] to be accomplished or assisted

in any way.” Mot. 11. Section 1591(e)(4)’s operative verbs—assisting, supporting, and facilitat-

ing—also are not presented in a context that narrows their meanings to avoid broad application




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to speech protected by the First Amendment. Section 2421A(b)(2)’s “contribute to sex traffick-

ing” is likewise not defined or cabined in at all.

               2.      FOSTA Fails Strict Scrutiny

        Plaintiffs also adequately plead that FOSTA fails First Amendment strict scrutiny. Once

pled, it becomes the Government’s burden to prove the challenged law survives strict scrutiny.

See Playboy Entm’t Grp., 529 U.S. at 818 (“When First Amendment compliance is the point to

be proved, the risk of nonpersuasion … must rest with the Government, not with the citizen.”).

“The State must specifically identify an ‘actual problem’ in need of solving, Playboy, 529 U.S. at

822-23, and the curtailment of free speech must be actually necessary to the solution, see R.A.V.,

supra, at 395. That is a demanding standard.” Brown, 564 U.S. at 799. Yet the Government

does not seriously attempt to fulfill its burden to show FOSTA actually serves a compelling

governmental interest and is narrowly tailored to achieve that interest.

        First, the Government does not show that FOSTA directly advances an asserted interest.

See Brown, 564 U.S. at 799. Instead, it merely asserts that “[c]ontrary to Plaintiffs’ allegations,

FOSTA advances an important government interest,” Mot. 19, without saying what that specific

interest is, or responding to Plaintiffs’ expert declarations stating that FOSTA will not serve the

objectives of law enforcement and instead will be counterproductive. 37        Overlooking these

declarations—not to mention its burden of proof—DOJ incorrectly claims Plaintiffs only “cite to

a single article written prior to the passage of FOSTA.” Mot. 17. The Government’s reference


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        See Decl. of Alexandra Frell Levy, Dkt. 5-8 (“Dr. Levy Decl.”), ¶ 7 (“If FOSTA succeeds
in shutting down high-traffic, high-visibility websites, it will suppress a key means of detecting
and reporting sex trafficking, thus decreasing trafficking victims’ chances of being recovered.”);
Decl. of Dr. Kimberly Mehlman-Orozco, Dkt. 5-9 (“Mehlman-Orozco Decl.”), ¶¶ 21-31 (“There
is absolutely no rigorous quantitative data to suggest that FOSTA has had or will have any
significant impact in reducing the prevalence of sex trafficking,” and “FOSTA has made the
already clandestine crime of sex trafficking even more hidden from law enforcement.”).



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to a study indicating that “almost 85% of federal sex trafficking prosecutions in FY 2016 and

2017 involved online advertising,” Mot. 18, says nothing about the need for FOSTA, or its

efficacy. 38 Compare Brown, 564 U.S. at 799 (rejecting Government’s reliance on numerous

studies offered to prove existence of problem in need of solving). In any event, reportage in the

wake of FOSTA likewise illustrates its counter-productive effect.             See Eric Goldman,

Indianapolis Police Have Been “Blinded Lately Because They Shut Backpage Down,” Tech. &

Mktg. L. Blog, July 11, 2018, https://blog.ericgoldman.org/archives/2018/07/indianapolis-police-

have-been-blinded-lately-because-they-shut-backpage-down.htm.

        Second, FOSTA is not narrowly tailored: it is both overinclusive and not the least-

restrictive means of addressing the Government’s poorly articulated interest. The Government

proves this point when it states that, “before FOSTA was enacted, websites could have been

prosecuted in federal court for those same or substantially similar crimes.” Mot. 19. This is

analogous to the situation in Playboy, where the Supreme Court, applying strict scrutiny, struck

down a provision of the Telecommunications Act that was substantially duplicative (and more

restrictive) of another provision directed at the same problem, because the Government had

failed to prove the necessity of the more restrictive provision. 529 U.S. at 817-27.

               3.     FOSTA Is Hopelessly Vague

        Plaintiffs also sufficiently plead a claim that FOSTA’s vague terms violate the First

Amendment. Specifically, the undefined terms “promote,” facilitate,” “assist,” “support,” and

“contribute to sex trafficking” “fail[] to provide a person of ordinary intelligence fair notice of

what is prohibited, or is so standardless that it authorizes or encourages seriously discriminatory


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         If anything, this statistic undercuts the Government. In suggesting it is already bringing
prosecutions against “advertising,” DOJ indicated—at best—that FOSTA was unnecessary. And
it entirely undermines the need for legislation with FOSTA’s more expansive terms.



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enforcement.” Williams, 553 U.S. at 304 (cited Mot. 14-15, 17, 20). 39 The adequacy of this

pleading is perhaps most easily demonstrated by comparing the Government’s own mistaken

belief that FOSTA applies only to online advertising and no other speech, against the vast

censorial effects FOSTA is having on Internet platforms in general, and sex work advocacy in

particular. See generally D’Adamo Decl.; Decl. of Dr. Alexandra Lutnick, Dkt. 5-7. Although

the Government asserts the likelihood that anyone would not understand what these words means

is “remote,” Mot. 25, the factual record before this Court shows actual considerable confusion.

See Pls. Mot. for Prelim. Inj. 10-17, 39-42.

        Most tellingly, the Government never explains what it thinks the statutory terms mean in

the context of FOSTA, but instead simply asserts summarily that they do not apply to Plaintiffs’

speech. Mot. 10-25. The closest the Government gets to defining any term is to assert that

“promote” broadly means to “to do any act that would cause the unlawful activity to be

accomplished or to assist in the unlawful activity in any way” and that it is bound by a specific

intent requirement rather than mere causation. Mot. 12-13. But an intent requirement cannot not

cure a vague law, because it begs the question: intent to do what? See Amusement Devices

Ass’n v. Ohio, 443 F. Supp. 1040, 1051 (S.D. Ohio 1977) (“[T]he Supreme Court has never to

our knowledge held that the imposition of a scienter element upon a statute necessarily renders

the statute’s prohibitions sufficiently precise to withstand a vagueness challenge.”). The

Government makes no attempt to explain how the terms “facilitate,” “assist,” “support,” or

“contribute to sex trafficking” are to be defined or applied in the context of FOSTA.

        None of the circumstances present in Holder v. Humanitarian Law Project, 561 U.S. 1

(2010), which the Government cites, apply to FOSTA. Mot. 24. The law at issue there was not
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        The Government’s assertion that Plaintiffs’ vagueness challenge is confined to the terms
“facilitate” and “promote” is incorrect. See Mot. 24.



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focused just on speech, it applied only to “material support” for groups that had been specifically

designated as terrorist organizations by the Government, it had been expressly narrowed by

Congress to exclude medical and religious materials, and it had been subject to a narrowing

construction of its key terms. Humanitarian Law Project, 561 U.S. at 35-36. In contrast,

FOSTA was expressly adopted to broaden the existing law’s reach, and in particular to do so in

ways that specifically target speech.

                                        CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court deny the Govern-

ment’s Motion to Dismiss the Complaint in this action.


DATED:     July 26, 2018

                                                     Respectfully submitted,


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